            Case 1:22-cv-01419-WMR Document 72 Filed 05/13/24 Page 1 of 6

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                           UNITED STATES DISTRICT COURT FOR THE
                              NORTHERN DISTRICT OF GEORGIA                         MAY 13 2024

 CRAIG CUNNINGHAM,                                    §
 Plaintiff,                                           §
                                                      §
 v.                                                   §
                                                      §
 Manasseh Jordan Ministries, Inc., et al              §   1:22-cv-1419

 Defendant
                                                      t
                                                      §
                                                                   Wn'\ ~


 Plaintiff's Agreed motion of an Extension of time of 30 days to respond to Defendant's De-

                 tailed Specification and Itemization of Requested Attorney's fees


1. To The Honorable US District Court:

2. The Plaintiff hereby requests a 30 day extension to respond to the Defendant's Detailed Spec-

      ification and Itemization of Requested Attorney's fees.

3. This is an uncontested motion as the Plaintiff has sought via email and has an agreement with

      counsel for Defendants to this extension of time with both Matthew Keilson and Devin Ar-

      nold in agreement on behalf of their clients.

4. Conclusion

5. Plaintiff hereby requests a 30 day extension to respond as agreed to by all the parties.
        Case 1:22-cv-01419-WMR Document 72 Filed 05/13/24 Page 2 of 6




Craig Cunningham, Plaintiff, Pro-se 3000 Custer Road, ste 270-206, Plano, Tx 75075
           Case 1:22-cv-01419-WMR Document 72 Filed 05/13/24 Page 3 of 6




                           UNITED STATES DISTRICT COURT FOR THE
                              NORTHERN DISTRICT OF GEORGIA

  CRAIG CUNNINGHAM,                                        §
  Plaintiff,                                               §
                                                           §
  v.                                                       §
                                                           §
 Manasseh Jordan Ministries, Inc., Bullion Fitness Inc.,   §   l :22-cv-1419
 Kingdom Ministries Church, Inc., Yakim Manasseh           §
 Jordan, aka Manasseh Jordan , MJ Ministries Spread-       §
 ing the Gospel, Inc., Steven Sledge, Aaron Jordan ,       §
 Naomi Cook, John/Jane Does 1-5

 Defendant



                                     Plaintiff's Certificate of Service


I hereby certify a true copy of the foregoing was mailed and emai
                                                                 led to the Defendants and attor-

                                          ney of record in this case.




Craig Cunningham, Plaintiff, Pro-se 3000 Custer Road, ste 270-2
                                                               06, Plano, Tx 75075
              Case 1:22-cv-01419-WMR Document 72 Filed 05/13/24 Page 4 of 6




                           UNITED STATES DISTRICT COURT FOR THE
                              NORTHERN DISTRICT OF GEORGIA

 CRAIG CUNNINGHAM,                                         §
 Plaintiff,
                                                           §
                                                           §
 v.                                                        §
                                                           §
 Manasseh Jordan Ministries, Inc., Bullion Fitness Inc.,   §   1:22-cv-1419
 Kingdom Ministries Church, Inc., Yakim Manasseh           §
 Jordan , aka Manasseh Jordan, MJ Ministries Spread-       §
 ing the Gospel , Inc., Steven Sledge, Aaron Jordan ,      §
 Naomi Cook, John/Jane Does 1-5

 Defendant



                                              Order on a Motion

                             The Plaintiff's motion is hereby Granted/Denied




Judge _ _ _ _ _ _ _ _ _ _ __


Date- - -
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